IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JACKI EASLICK, LLC, et al,
Plaintiffs, Civil Action No. 2:23-cv-2000

v. Hon. William S. Stickman IV

CJ EMERALD, et al,

Defendants.

MEMORANDUM OPINION

WILLIAM S. STICKMAN IV, United States District Judge

Pending before the Court is a Motion for Reconsideration (ECF No. 85) (the “Motion’’)
filed by Plaintiffs, Jacki Easlick, LLC (“Easlick”) and JE Corporate LLC (‘JE”) (collectively,
“Plaintiffs”) on February 13, 2024.' Plaintiffs filed the Motion seeking reconsideration of the
Court’s January 26, 2024 order (ECF No. 76) (the “Preliminary Injunction Order”) and
Memorandum Opinion (ECF No. 75) (‘Preliminary Injunction Opinion”) denying their motion
for a preliminary injunction (ECF No. 4) (“Preliminary Injunction Motion”). In the Preliminary
Injunction Opinion, the Court concluded that Plaintiffs, the moving parties, failed to make the
requisite showing for the two gateway factors for a preliminary injunction, (1) likelihood of

success on the merits and (2) irreparable harm. (ECF No. 75, p. 19). The Motion asks the Court

‘ On February 26, 2024, Plaintiffs notified the Court that they filed an appeal to the Court of
Appeals for the Federal Circuit. (ECF No. 91). The Court, however, still has jurisdiction
pursuant to Rule 4(a)(4)(B)(i) of the Federal Rules of Appellate Procedure. See FED. R. App. P.
4(a)(4)(B)a) (If a party files a notice of appeal after the court ... enters a judgment--but before
it disposes of any motion listed in Rule 4(a)(4)(A)--the notice becomes effective to appeal a
judgment or order ....when the order disposing of the last such remaining motion is entered.”’).
to reconsider these two conclusions on the grounds of new evidence and clear error of law. (ECF
No. 85, pp. 4-6). For the following reasons, the Court will deny the Motion.
I. STANDARD OF REVIEW

Motions for reconsideration must be strictly reviewed and sparingly granted. See
Williams v. City of Pittsburgh, 32 F. Supp. 2d 236, 238 (W.D. Pa. 1998). Parties may not use
such motions to “relitigate issues the court has already decided,” /d., or to “raise new arguments
or evidence that could have been proffered prior to the issuance of the order in question,”
Qazizadeh v. Pinnacle Health Sys., 214 F. Supp. 3d 292, 295-96 (M.D. Pa. 2016). Rather,
parties may only request that a court revisit one of its prior decisions if justice so requires. See
Howard Hess Dental Lab’ys Inc. y. Dentsply Int’l, Inc., 602 F.3d 237, 251 (3d Cir. 2010) (“The
purpose of a motion for reconsideration is to correct manifest errors of law or fact or to present
newly discovered evidence.” (cleaned up)). In considering whether reconsideration is
appropriate, courts are guided by the applicable Federal Rule of Civil Procedure—Rule 54(b),
59(e), or 60(b).

Motions for reconsideration are usually brought under Rule 59(e) or 60(b). See Dayoub
y. Penn-Del Directory Co., 90 F. Supp. 2d 636, 637 (E.D. Pa. 2000). To seek reconsideration
under Rule 59(e), a moving party must demonstrate at least one of the following grounds: (1) an
intervening change in the controlling law; (2) the availability of new evidence that was not
available when the court granted the motion for summary judgment; or (3) the need to correct a
clear error of law or fact or to prevent manifest injustice. See Howard Hess Dental, 602 F.3d at
251 (citations omitted). Similarly, to seek reconsideration under Rule 60(b), a party must prove
one of six grounds enumerated in the rule itself. See Fep. R. Civ. P. 60(b)(1)-(6); see also

United States v. Fiorelli, 337 F.3d 282, 288 (3d Cir. 2003). These rules, however, only provide
for reconsideration of final judgments, not interlocutory orders. See Dayoub, 90 F. Supp. 2d at
637.

To seek reconsideration of an interlocutory order, a party must file a motion under
Rule 54(b). See Qazizadeh, 214 F. Supp. 3d at 295 (“[MJotions for reconsideration of
interlocutory orders—whether denials of summary judgment, grants of partial summary
judgment, or any other non-final orders—-are motions under Federal Rule of Civil Procedure
54(b).”). District courts generally possess more discretion to reconsider interlocutory orders than
to reconsider final judgments. See Foster v. Westchester Fire Ins. Co., 2012 WL 2402895, at *4
n.l (W.D. Pa. June 26, 2012). Accordingly, “reconsideration of [interlocutory] orders may be
had even if the movant cannot show” one of the particular grounds permitting reconsideration of
final orders. See Qazizadeh, 214 F. Supp. 3d at 295. Nevertheless, “the movant must still
establish good cause for why the court should revisit its prior decision.” Jd. And, pursuant to the
law of the case doctrine, courts should only “grant motions for reconsideration in “extraordinary
circumstances.’” Foster, 2012 WL 2402895, at *4 n.1 (quoting In re Pharmacy Benefit
Managers Antitrust Litig., 582 F.3d 432, 438-39 (3d Cir. 2009)). The extraordinary
circumstances permitting reconsideration of prior decisions “align neatly” with the three grounds
justifying reconsideration under Rule 59(e). Jd.; see also A&H Sportswear Co., Inc. v. Victoria’s
Secret Stores, Inc., 2001 WL 881718, at *1 (E.D. Pa. May 1, 2001) (‘Courts tend to grant
motions for reconsideration sparingly and only upon the grounds traditionally available under
Fed. R. Civ. P. 59(e).”).

Hf. FACTUAL AND PROCEDURAL BACKGROUND
On December 18, 2023, Plaintiffs filed the Preliminary Injunction Motion requesting the

Court enjoin Defendant AccEncye US (“AE”) from its unauthorized “promoting, advertising,
distributing, offering for sale, and selling” of Plaintiffs’ patented TOTE HANGER® brand
handbag hanger hook (“Tote Hanger”) associated with U.S. Patent No. D 695,526 S (“Design
Patent”). (ECF No. 2, pp. 2, 5, 25); (ECF No. 4); (ECF No. 22); (ECF No. 46). Plaintiffs
claimed that AE infringed on the Design Patent by offering knock-off versions (“Accused
Product’’) of the Tote Hanger on online marketplaces. (ECF No. 2, pp. 2-3).

The next day, the Court heard oral argument at a videoconference injunction hearing
(“Preliminary Injunction Hearing”) on the Preliminary Injunction Motion where the parties
argued whether the Court should impose a preliminary injunction for the alleged design-patent
infringement and pre-judgment asset restraint? (ECF No. 65). During the Preliminary
Injunction Hearing, the Court asked counsel for Plaintiffs if they had “any documentary evidence
or witnesses to present.” (/d. at p. 3). Plaintiffs’ counsel responded, “[i]n terms of evidence,
we’re going to rely on what was submitted with our papers ... [and are] pleased to answer any
questions the Court may have.” (/d.).

In its ensuing Preliminary Injunction Order, the Court denied the Preliminary Injunction
Motion. (ECF No. 76). The Court held that Plaintiffs had not met their burden of establishing a
likelihood of success on the merits and irreparable harm, two critical factors that a movant must
demonstrate for a court to grant a preliminary injunction. (ECF No. 75, pp. 1, 19 n.2). As to the

likelihood of success on the merits, the Court compared the ornamental features of the two

? Counsel for the Maybeller Defendants (ABEL TANG, ATRISS, BESTOYARD, BONNIE
CHILD, COLORED FLAG, ENTERTAINMENT FIRST, FACING THE OCEAN, FEPERIG,
FULL OF STARS.MIN, GARDEISH, HEMPHILL HEN, HERLLOY, JAGOGH YSON,
JONERCEY, KARIN YANG, LIMICOUNTS, LIPU HOOKER, LMPOSING, M.METEORITE,
MAYBELLER, NISHUNA, PATRICK YAO, PBFZ, QIKITA, ROBITENO, SHANNON
WENHA, SI PEIHONG, SINUOXIANG, SOMIROW, SURMOUNTY, THINKCREATORS,
THOMAS ZACK YANG, TRACY ZHONG, TRAVELNA, VITONG, ZARA LEI, ZHONG
ROY) appeared at oral argument. (ECF No. 65). Plaintiffs and the Maybeller Defendants
entered into a consent order for a preliminary injunction on December 22, 2023. (ECF No. 56).

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designs and found “a substantial question [exists] of whether the claimed and accused designs
are plainly dissimilar.” (Jd. at p. 15). As to irreparable harm, the Court concluded that Plaintiffs
failed to provide concrete evidence to support a showing of irreparable harm. (/d. at p. 19).
Subsequently, on February 13, 2024, Plaintiffs filed the Motion, petitioning the Court to
reconsider its Preliminary Injunction Order and Opinion, vacate its Preliminary Injunction Order,
and grant their Preliminary Injunction Motion. (ECF No. 85).
UI. ANALYSIS
Plaintiffs seek reconsideration under Rule 54(b). The Court holds that there is no reason
to disturb its prior ruling. No intervening change in the controlling law has occurred, and there
is no clear error of law or fact that the Court must correct. While Plaintiffs believe that “new
evidence” has come to light that was not available when the Court adjudicated their Preliminary
Injunction Motion, and that the new evidence warrants the imposition of a preliminary
injunction against AE, the Court disagrees. The United States Court of Appeals for the Third

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Circuit has made it clear that “‘new evidence,’ for reconsideration purposes, does not refer to
evidence that a party ... submits to the court after an adverse ruling. Rather, new evidence in
this context means evidence that a party could not earlier submit to the court because that
evidence was not previously available.” Howard Hess Dental, 602 F.3d at 252.

A. The Court Will Not Review Plaintiffs’ New Evidence

Plaintiffs argue that the Court should reconsider their Preliminary Injunction Motion
because, at the time of the Preliminary Injunction Hearing, AE had “submitted its opposition
after the response period expired,” and, therefore, AE “prevent[ed] Plaintiffs from replying

before the hearing.” (ECF No. 85, p. 4) (emphasis added). A motion for reconsideration “may

not be used as a means to argue new facts or issues that inexcusably were not presented to the
court in the matter previously decided.” Romero v. Allstate Ins., 1 F. Supp. 3d 319, 420 (E.D.
Pa. 2014). “[N]ew evidence, for reconsideration purposes, does not refer to evidence that a party

. submits to the court after an adverse ruling. Rather, new evidence in this context means
evidence that a party could not earlier submit to the court because that evidence was not
previously available.” Blystone v. Horn, 664 F.3d 397, 415 (3d Cir. 2011). “Where evidence is
not newly discovered, a party may not submit that evidence in support of a motion for
reconsideration.” Harsco Corp. v. Zlotnicki, 779 F.2d 906, 909 (3d Cir. 1985).

Plaintiffs assert that AE’s late filing of its opposition caused only evidence of
photographs and drawings to be available to the Court at the time of the Preliminary Injunction
Hearing. (ECF No. 85, p. 4). Specifically, Plaintiffs argue that the physical evidence, i.e.,
tangible copies of the hooks at issue, were not in the Court’s hands. Ud.). They.also assert that
Easlick’s testimony about irreparable harm was not available to the Court. (Ud). For both
assertions, Plaintiffs fail to explain how the physical evidence or Easlick’s irreparable harm
testimony was unavailable to them before they filed their Preliminary Injunction Motion and
before the Preliminary Injunction Hearing. And the Court sees no reason why Plaintiffs could
not provide the physical evidence or testimony at either juncture. At best, Plaintiffs regret their
decision to rest on what they “submitted with [their] papers.” (ECF No. 65, p. 3).

When litigating their Preliminary Injunction Motion, Plaintiffs had the burden to show
that the Accused Product infringed upon the Tote Hanger and that AE’s infringement caused
Plaintiffs to suffer irreparable harm, but they failed to meet their burden. See Doe v. Boyertown
Area Sch. Dist., 897 F.3d 518, 526 Gd Cir. 2018). With their Preliminary Injunction Motion,
Plaintiffs submitted pictures of the handbag hanger hooks at issue and a declaration from

Easlick. (ECF No. 8); (ECF No. 11). Plaintiffs provided nothing more for their Preliminary
Injunction Motion or at the Preliminary Injunction Hearing. Plaintiffs’ proffering of the physical
evidence and Easlick’s testimony now is nothing more than evidence that was available before
the Preliminary Injunction Opinion and Preliminary Injunction Order. None of this evidence
constitutes new evidence. For these reasons, the Court does not find that the evidence warrants
reconsideration.?

B. The Court Did Not Err in Applying the Ordinary Observer Test

Plaintiffs assert that the Court erred in its Preliminary Injunction Opinion and Order by
(1) mistakenly focusing on the individual elements of the Tote Hanger instead of the overall
appearance of the patented design; and (2) failing to compare the two designs in view of the prior
art. (ECF No. 85, p. 4). Motions for reconsideration “address[] only factual and legal matters
that the Court may have overlooked. It is improper on a motion for reconsideration to ask the
Court to rethink what it had already thought through—tightly or wrongly.” Gibbs-Squires v.
Cosby, No. 16-768, 2017 WL 5515952, at *1 (E.D. Pa. March 17, 2017) (citation and internal
quotation marks omitted). Ultimately, the Court disagrees with Plaintiffs as they have not
demonstrated that the Court erred in applying the ordinary observer test.

First, Plaintiffs contend that, when applying the ordinary observer test, the Court
overlooked the overall appearance of the patented design in favor of individual elements. (ECF
No. 85, p. 4). From Plaintiffs’ perspective, the Court improperly eliminated structural elements
in construing the scope of their design patent claim. (Ud). By discounting these structural
elements, Plaintiffs assert that the Court employed an element-by-element comparison instead of

analyzing the overall visual impressions of the claimed and accused designs. (/d.).

3 Even if the Court was willing to consider the physical copies of the handbag hanger hooks, the
Court would find that this alleged “missing physical evidence” confirms its infringement analysis
in the Preliminary Injunction Opinion.
The Court disagrees. To start, the Court did not eliminate any structural elements entirely
from Plaintiffs’ claim. The Court only excluded the concept of two attached hooks and the
vertical configuration of the top and bottom hooks because they were driven purely by utility.*
(ECF No. 75, p. 9). Specifically, Plaintiffs contend that the Court excluded the 90-degree offset
of the top and bottom hooks and the hook shapes. (ECF No. 85, p. 5) (‘[T]he 90[-]degree bend
... is the aesthetic feature... [,] and the hook shapes are not functional.”). Yet, the Court did not
factor out either of these ornamental features. (ECF No. 75, p. 10) (“The Design Patent,
however, still protects the ornamental features of the Tote Hanger’s top and bottom hooks, which
include, among other non-functional features, the shape of the hooks ... [and] the 90-degree
offset.’”).°

Next, the Court compared the overall impression of the two designs. In accordance with
Federal Circuit precedent, the Court began its ordinary observer analysis by conducting a side-
by-side comparison of the Accused Product and the Tote Hanger to analyze the overall visual
effect of the two products. (ECF No. 75, pp. 14—15). The Court considered how the significant
differences in each design’s ornamental features, when viewed together, affected the overall

designs. (Ud. at pp. 15-16); See Lanard Toys Lid. v. DolgenCorp LLC, 958 F.3d 1337, 1343

“ In Easlick’s “new” declaration, Plaintiffs argue that the Court’s claim construction failed to
consider how other products on the market are shaped differently and accomplish the same
function as the Tote Hanger. (See ECF No. 85-2, 19, 28). The Court did not consider this
evidence because Plaintiffs did not provide it initially. As stated in Section A above, the Court
will not consider new evidence that was available, and Plaintiffs could have submitted. Based on
the evidence presented, the Court’s claim construction was correct.

> In applying the ordinary observer test, the Court did not exclude the Tote Hanger’s 90-degree
offset. Instead, in considering the preliminary injunction standard, the Court discussed how the
dissimilarities in the two designs impacted the products’ overall visual impressions, which led
the Court to its conclusion that “a substantial question [exists as to] whether the claimed and
accused designs are plainly dissimilar.” (ECF No. 75 at p. 15). In turn, the Court did not find
that Plaintiffs demonstrated that an ordinary observer would “more likely than not” be deceived
into mistakenly purchasing the Accused Product instead of the Tote Hanger.

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(Fed. Cir. 2020) (“Under the ‘ordinary observer’ test, a court must consider the ornamental
features and analyze how they impact the overall design.”)

As the Court explained in the Preliminary Injunction Opinion, upon viewing the claimed
and accused designs, as a whole, an ordinary observer would immediately gravitate to the center
of the hooks as they are prominent and distinctive. (ECF No. 75, pp. 15) (‘After comparing the
overall visual effect of the two products, the most obvious difference lies with the center of each
handbag hook. ... [T]he human eye is immediately drawn to the contrasting corkscrew-like
center of the Tote Hanger against the laterally bent center of the Accused Product.”).® As the eye
drifts from the center of the hooks, other dissimilarities in ornamental features become
immediately noticeable, such as the shapes of the bottom hooks, the “sphere-shaped caps
compared to the tube-like caps on the Accused Product,” and the Tote Hanger’s flared tip. Ud. at
p. 15).

The Court did not find any of the ornamental dissimilarities to be minor or trivial. See,
e.g., Ud. at p. 15) (“In contrast, the Accused Product’s bottom hook is crescent-shaped and
connected to the center of the hook .... [W]hat is critical is that an ordinary observer would
notice how the Accused Product’s bottom hook is bent in a more open-face manner than the Tote
Hanger’s.”). Instead, the Court found them to be significant differences that were integral to
their respective designs and impacted the ordinary observer’s overall visual impressions. (ECF
No. 75, pp. 15~16) (citing Int’] Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1243
(Fed. Cir. 2009) (“The mandated overall comparison is a comparison taking into account

significant differences between the two designs, not minor or trivial differences that necessarily

6 See also (ECF No. 75, p. 15) (“Even if the pictures of the Tote Hanger and the Accused Product
were mixed randomly, an ordinary observer could quickly restore them to their original order
upon viewing the center of the parties’ handbag hooks.”).

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exist between any two designs that are not exact copies of one another.”)). As a result, the Court
determined that Plaintiffs did not show that the accused design “more likely than not” infringes
upon the claimed design. (ECF No. 75, pp. 6, 16).

Second, Plaintiffs claim that the Court did not consider the prior art in its initial
infringement analysis. (ECF No. 85, p. 1). The Court did not analyze the prior art because it
determined that a substantial question exists as to whether the Tote Hanger and the Accused
Product are “plainly dissimilar,” which is not enough to show that there is a likelihood of
substantial similarly between the two designs. (ECF No. 75, p. 15) “Where the claimed and
accused designs are ‘sufficiently distinct’ and ‘plainly dissimilar,’ the patentee fails to meet its
burden of proving infringement as a matter of law.” Ethicon Endo-Surgery, Inc. v. Covidien,
Inc., 796 F.3d 1312, 1335 (Fed. Cir. 2015) (citing Egyptian Goddess, Inc. v. Swisa, Inc., 543
F.3d 665, 678 (Fed. Cir. 2008)). Therefore, the Court had no reason to consider the prior art in
its initial infringement analysis. Plaintiffs desire for the Court to rethink how it applied the
ordinary observer test is not a proper basis for a motion for reconsideration.

Even if the Court had considered the prior art, the outcome of the Preliminary Injunction
Order and Preliminary Injunction Opinion would not have changed. If the claimed and accused
designs are not plainly dissimilar, and prior art exists, “resolution of the question of whether the
ordinary observer would consider the two designs to be substantially the same will benefit from a
comparison of the claimed and accused designs with the prior art.” Samiam Group, LLC v.
Coopersburg Assocs., Inc., 650 F. Supp. 3d 295, 312 (E.D. Pa. 2023) (citation omitted). “When
the differences between the claimed and accused design are viewed in light of the prior art, the
attention of the hypothetical ordinary observer will be drawn to those aspects of the claimed

design that differ from the prior art.” Egyptian Goddess, Inc., 543 F.3d at 676.

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Here, the prior art submitted by Plaintiffs differs from the claimed design in many

respects.

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(ECF No. 11, p. 14). Those ornamental dissimilarities include the shapes of the hooks, the
finished ends, flared tips, and the downward bent center of the hook. Each of these ornamental
dissimilarities are some of the same ornamental dissimilarities that the Court held impacted the
ordinary observer’s perception of the overall claimed design against the accused design. With
the attention of the hypothetical ordinary observer still drawn to these significant differences, as
noted in the Preliminary Injunction Opinion, re-application of the ordinary observer test would
not have changed the overall visual effect of the two designs. As such, Plaintiffs have not shown
that an ordinary observer would “more likely than not” be deceived into mistakenly purchasing
the Accused Product instead of the Tote Hanger. Plaintiffs are not entitled to preliminary

injunctive relief.

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IV. CONCLUSION
For these reasons, the Court holds that reconsideration is not appropriate. It will deny

Plaintiff's motion by Order of Court to follow.

BY THE COURT:

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WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

Date: 4-174

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